Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 1 of 8 PageID #:992
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 2 of 8 PageID #:993
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 3 of 8 PageID #:994
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 4 of 8 PageID #:995
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 5 of 8 PageID #:996
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 6 of 8 PageID #:997
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 7 of 8 PageID #:998
Case: 1:10-cr-00608 Document #: 174 Filed: 04/11/12 Page 8 of 8 PageID #:999
